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                          1         Law Offices of Stephen Abraham
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                                                  1592 Pegasus Street
                          3                Newport Beach, California 92660
                                               Telephone: (949) 878-8608
                          4                    Facsimile: (714) 852-3366

                          5    Attorney for Defendant Jonalyn Montiel Nguyen
                          6

                          7
                                                            UNITED STATES DISTRICT COURT
                          8                               NORTHERN DISTRICT OF CALIFORNIA
                          9
                        10
                               Brian Whitaker,
                        11                                                           Case No. 4:21-cv-04336-HSG
                                                                        Plaintiff,
                        12                                                           RESPONSE OF COUNSEL FOR
                                                   v.                                DEFENDANT TO ORDER TO
                        13                                                           SHOW CAUSE
                               Jonalyn Montiel Nguyen,
                                                                                     [Doc. 48]
                        14
                                                                      Defendant.
                        15

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                        17               The undersigned counsel, herewith responds to the Court’s order to show
                        18     case for failure to appear at the case management conference. I sincerely apologize
                        19     to the Court, its staff, and to opposing counsel for the failure to appear. The failure
                        20     was mine entirely and was the result of the hearing not being correctly calendared.
                        21     While it appeared on my internal docketing system, it was not reflected in my
                        22     calendar that is promulgated amongst my various devices, including computer and
                        23     mobile devices. I was away from the office earlier and had checked the mobile
                        24     calendar but not cross-checked the desktop calendar and docketing system. Had I
                        25     done so, I would have realized that the hearing was not posted and would have
                        26     corrected it right away. I have implemented additional measures to makes sure that
                        27     this does not reoccur.
                        28
Stephen E. Abraham
____                    ____
       LAW OF F I CES
 1 5 92 Pe g asus Stre et
 N e wport Be ach, CA
           9 2 660             Whitaker v Nguyen - Response to OSC                  1
    (9 4 9 ) 87 8-8608
                                                                     RESPONSE TO ORDER TO SHOW CAUSE
                                 Case 4:21-cv-04336-HSG Document 49 Filed 04/06/22 Page 2 of 3



                          1              With respect to the rescheduled hearing, I have confirmed that it appears on
                          2    all calendars.
                          3              On the basis of the foregoing, I respectfully request that the order to show
                          4    cause be discharged and no sanctions imposed.
                          5

                          6              Respectfully submitted.
                          7
                               Dated: April 6, 2022                        LAW OFFICES OF STEPHEN ABRAHAM
                          8

                          9
                                                                           By:      /s/ Stephen E. Abraham
                        10                                                       Stephen E. Abraham
                                                                                 Attorney for Defendant
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Stephen E. Abraham
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       LAW OF F I CES
 1 5 92 Pe g asus Stre et
 N e wport Be ach, CA
           9 2 660             Whitaker v Nguyen - Response to OSC                  2
    (9 4 9 ) 87 8-8608
                                                                     RESPONSE TO ORDER TO SHOW CAUSE
                                 Case 4:21-cv-04336-HSG Document 49 Filed 04/06/22 Page 3 of 3




                          1                                          PROOF OF SERVICE
                          2
                               STATE OF CALIFORNIA, COUNTY OF ORANGE
                          3

                          4 I am employed in the County of Orange, State of California. I am over the age of
                            18 and not a party to the within action. My business address is: 1592 Pegasus
                          5 Street, Newport Beach, California 92660.

                          6
                                On April 6, 2022, I served the foregoing document described as:
                          7RESPONSE OF COUNSEL FOR DEFENDANT TO ORDER TO SHOW
                         8 CAUSE thereon on all interested parties in this action as follows:

                         9    CENTER FOR DISABILITY ACCESS                           Representing Plaintiff
                              Amanda Seabock, Esq., SBN 289900
                        10    Prathima Price, Esq., SBN 321378
                              Dennis Price, Esq., SBN 279082
                        11    Mail: 8033 Linda Vista Road, Suite 200
                              San Diego, CA 92111
                        12    (858) 375-7385; (888) 422-5191 fax
                              amandas@potterhandy.com
                        13

                        14               [x]       e-Filing pursuant to Court order
                        15
                                         Executed on April 6, 2022, at Newport Beach, California.
                        16

                        17            I declare under penalty of perjury under the laws of the State of California
                               that the above is true and correct.
                        18
                        19
                                                                          /s/ Stephen E. Abraham
                        20                                                  Stephen E. Abraham
                        21

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Stephen E. Abraham
____                    ____
       LAW OF F I CES
 1 5 92 Pe g asus Stre et
 N e wport Be ach, CA
           9 2 660             Whitaker v Nguyen - Response to OSC
    (9 4 9 ) 87 8-8608
                                                                       PROOF OF SERVICE
